

Sackas v 240 E. 46th St. Condominium (2023 NY Slip Op 00043)





Sackas v 240 E. 46th St. Condominium


2023 NY Slip Op 00043


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Renwick, J.P., Gesmer, Kennedy, Scarpulla, Pitt-Burke, JJ. 


Index No. 160714/16 Appeal No. 17022 Case No. 2022-01273 

[*1]Katherine Sackas, Plaintiff-Respondent,
v240 East 46th Street Condominium et al., Defendants-Appellants.


Mauro Lilling Naparty LLP, Woodbury (Seth M. Weinberg of counsel), for appellants.
Ressler &amp; Ressler, New York (Bruce J. Ressler of counsel), for respondent.



Order, Supreme Court, New York County (Gerald Lebovits, J.), entered February 23, 2022, which denied defendants 240 East 46th Street Condominium and Key Real Estate Associates, LLC's motion for summary judgment dismissing plaintiff's negligence and detrimental reliance claim, unanimously affirmed, without costs.
Defendants failed to demonstrate their prima facie entitlement to summary judgment as to assumed duty and detrimental reliance (see Nallan v Helmsley—Spear, Inc. , 50 NY2d 507, 514, 520-523 [1980]). Defendants had a building safety protocol in which no one would be sent up to an apartment without a front desk announcement followed by tenant consent, and plaintiff testified that she knew of and relied on that
protocol in unlocking her door while waiting for the food delivery when the building's doorman assaulted her.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023








